Case 6:16-cV-0097O-RBD-TBS Document 76 Filed 05/16/18 Page 1 of 2 PagelD 950

AFFlDAVlT OF SERV|CE

UNITED STATES DlSTR|CT COURT
l\/liddle District of Florida

Case Number: 6:16-CV-00970-RBD-TBS

Plaintiff:
UN|TED STATES OF AMER|CA, EX REL. BARBARA BERN|ER; BARBARA
BERN|ER; and, ESE LOVE
MlC2018007065

vs.
Defendants:

lNFlLAW CGRPORAT|ON; CHARLOTTE SCHOOL OF LAW, LLC; AMER|CAN BAR
ASSOC|AT|ON

For: Coleman Watson
Watson LLP

Received by EAGLE LEGAL SERV|CES on the 9th day of May, 2018 at 10:30 am to be served on American Bar
Association, dlbla Accreditation Committee of the Section of Legal Education and Admissions to the Bar, Attn: Barry
A. Currier, Mana ingc'd Director, Ac_crei italian and Legal Education, 321 North C|ark Street, 21st Floor, Chicago, lL
60654-7598. l, /‘R \ c 6 being duly sworn, depose and say that on the l 12 day of

20 _$_ at LL: ..m, executed sen/ice by delivering a true copy of the 21 -Day Summons in a Civil Action,
Secon Amended Complaint (Jury Tria| Demanded) and Exhibits` in accordance with state statutes in the manner marked
below

( ) PUBL|C AGENC¥: By serving as of the within-
named agency.

( ) SUBST|TUTE SERV|CE: By serving as
.who does reside therein who is 15 years old of age or older.

 

coRPoRA T§sEvacE; Byserving /Aiclwel L &ad$or\ as
L()*-\/ 129040

() POSTED SERV|CE: Afler attempting service on ___/_ at ____ and on ___/_ at__ to a conspicuous place on the
property described herein.

( ) NON SERV|CE: For the reason detailed in the Comments below.
COMMENTS:

 

 

 

 

wl 701

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AFFlDAVlT OF SERV|CE For 6:16-CV-00970-RBD-TBS

| certify that l have no interest in the above action, am of legal age and have proper authority in the jurisdiction in which this
service was made. Under penalty of perjury, l declare that l have read the Foregoing Return of Service and that the facts
stated in it are true. F.S.92.525(2).

@ié;@e%

 

 

 

Subscribed and Sworn£o before me on the | day
of M(&?_\F! , 016 by the afriantwho is PRocEss SERvER#
personally k wr\ ,L Or produced ide tincation Appointed in accordance with state statutes
to me. Type of identifi tion: /
h ,, , `/-\ /» EAGLE LEGAL sEvacEs
424 E. Central B|vd.
#337
ARY PUB'- orlando, Ft. 32801

  
 
  
     

OFF|C|AL SEAL
ALLISON HAWKS
NorARY Puauc . sTATE or rLuNo\s
MY commission ExPlREs:os/za/tg
‘ WWMM

(407) 857-8380

Our Job Serial Number: 2018007065

f: 1 -0074
Commission Stamp/Sea Re 6

 

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